           Case 1:16-vv-01340-UNJ Document 30 Filed 01/26/18 Page 1 of 7




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-1340V
                                      Filed: July 19, 2017
                                        UNPUBLISHED


    ELIJAH THOMAS,
                                                             Special Processing Unit (SPU); Joint
                        Petitioner,                          Stipulation on Damages; Influenza
    v.                                                       (Flu) Vaccine; Guillain-Barre
                                                             Syndrome (GBS)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.
Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

        On October 13, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barre Syndrome (“GBS”)
caused by his October 7, 2015 influenza vaccination. Petition at 1; Stipulation, filed July
19, 2017, at ¶ 4. Petitioner further alleges that he experienced the residual effects of
this condition for more than six months and that there has been no prior award or
settlement of a civil action for damages as a result of his condition. Petition at 4-5;
Stipulation at ¶¶ 4-5. “Respondent denies that the influenza immunization is the cause
of petitioner’s alleged GBS or any other injury or condition. ” Stipulation at ¶ 6.

       Nevertheless, on July 19, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:16-vv-01340-UNJ Document 30 Filed 01/26/18 Page 2 of 7



finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        A lump sum of $225,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                      2
Case 1:16-vv-01340-UNJ Document 30 Filed 01/26/18 Page 3 of 7
Case 1:16-vv-01340-UNJ Document 30 Filed 01/26/18 Page 4 of 7
Case 1:16-vv-01340-UNJ Document 30 Filed 01/26/18 Page 5 of 7
Case 1:16-vv-01340-UNJ Document 30 Filed 01/26/18 Page 6 of 7
Case 1:16-vv-01340-UNJ Document 30 Filed 01/26/18 Page 7 of 7
